Case 2:07-cr-20411-GCS-VMM ECF No. 222, PageID.1043 Filed 01/09/12 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                     Plaintiff(s),
                                                        Case No. 07-20411
 vs.
                                                        HON. GEORGE CARAM STEEH


 D-5 ERNEST TYRONE HAYES,

                 Defendant(s).
 _____________________________/


           ORDER DENYING MOTION FOR MODIFICATION OF SENTENCE


       On November 28, 2011 the defendant filed a motion for modification or reduction

 of sentence pursuant to 18 U.S.C. § 3582(c)(2). He previously had filed a Notice of Appeal

 on October 3, 2011 which is pending before the Sixth Circuit Court of Appeals. Jurisdiction

 has transferred to the Court of Appeals, therefore,

       IT IS ORDERED that the defendant’s motion is denied without prejudice.

                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE

 Dated: January 9, 2012

                                CERTIFICATE OF SERVICE

               Copies of this Order were served on the attorneys of record and
        Ernest Tyrone Hayes, #42179-039, P.O. Box 1000, Whitedeer, PA 17887 on
                  January 9, 2012, by electronic and/or ordinary mail.


                                          s/Marcia Beauchemin
                                          Case Manager/Deputy Clerk
